Case 3:95-cv-00250-HLA-MCR Document 87 _ Filed 04/16/03 Page 1 of 6 PagelD 172

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FILED
IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

0) APR 1b? A F274
cLeR Ais.Bl iSTRICT COURT

JOHN GARY HARDWICK, JR., ) ee FFL ORD!
) Bee
Petitioner, )
)
vs. ) No. 3:95-cv-250-J-25
)
)
JAMES CROSBY, SECRETARY )
DEPT. OF CORRECTIONS, )
)
Respondent. )

MOTION TO REOPEN PROCEEDINGS

Comes now Respondent, by and through counsel, and in support of his motio 1
to reopen these proceedings, states as follows:

1. On March 20, 1995, petitioner, by and through counsel, filed his Petition:
For Writ Of Habeas Corpus [Doc. No. 1], wherein petitioner raised numerou ;
grounds for relief challenging the judgment of conviction and sentence 0°
death imposed for his murder of Keith Pullum occurring on December 24,
1984.

2. The Court denied the petition on February 25, 1997 [Docs. No. 54 anc

55].
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3, On January 31, 2003, a panel of the Eleventh Circuit Court of Appea's
affirmed in part and reversed in part the judgment of this Court and in a 2.1
majority opinion remanded the case to this Court for an evidentiary hearin 5,

Hardwick v. Crosby, F.3d , Slip op. at 127-128 (11" Cir. Jan. 31, 200 )

[Doc. No. 82].

4. On February 21, 2003, Respondent filed in this Court a Motion to Hold
Proceedings in Abeyance pending resolution of Respondent’s Petition fcr
Rehearing En Banc filed in the Eleventh Circuit Court of Appeals on that sam 2
date. By order dated March 2, 2003, this Court granted Respondent’s motio 1
to hold proceedings in this Court in abeyance, and directed Respondent to “fil:
a motion to reopen this case, if necessary, after the proceedings in the Elevent 1
Circuit Court of Appeals have concluded.”

5. On March 28, 2003, the Eleventh Circuit Court of Appeals denie:|
Respondent’s Petition for Rehearing En Banc, and also denied Petitioner’ ;
Petition for Rehearing. See copies of the Court’s orders, attached.

6. Thus, the proceedings in the Eleventh Circuit Court of Appeals hav::
now concluded, and Respondent, as directed, files this motion to reopen thi:

case.
Case 3:95-cv-00250-HLA-MCR Document 87

Filed 04/16/03

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WHEREFORE, for the reasons stated herein, Respondent moves to reopen th s

case.

Respectfully submitted,

CHARLES J. CRIST, JR.
Attorney General

CURTIS M. FRENCH
Senior Assistant Attorney General
Florida Bar No. 291692

OFFICE OF THE ATTORNEY GENERAL
The Capitol
Tallahassee, FL 32399-1050
(850) 414-3300 Ext 4583

FAX (850) 487-0997

Counsel for Respondent

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy

of the foregoing was mailed, postage prepaid,

on this 9th day of April, 2003, to:

Terri Lynn Backhus, Esq.
P.O. Box 3294
Tampa, FL 33601

Con

CURTIS M. FRENCH

Case 3:95-cv-00250-HLA-MCR Document 87 _ Filed 04/16/03 Page 4 of 6 Pagel 75

IN THE UNITED STATES COURT OF APPEALS

FOR THE ELEVENTH CIRCUIT
FILED

U.S. COURT OF APPEALS
FLEVENTH CIRCUIT

No. 97-2319-P MAR 2.8 2003

_EHOMAS K. KAHN
ewe & SOCKETEY = CLERK
JOHN GARY HARDWICK, JR., REO OA ATOR

APR Q 2003

Petitioner-Appellant,

versus on
CAPITAL COLLS FERAL

rat} AHSSSEE
JAMES CROSBY, Secretary, section - TALS
Florida Department of Corrections,
Respondent-Appellee.

On Appeal from the United States District Court for the
Middle District of Florida

ON PETITION(S) FOR REHEARING AND PETITION(S) FOR REHEARING EN BANC
(Opinion January 31, 2003, 11th Cir., 2003, F.3d ).

Before: TIOFLAT, ANDERSON and BIRCH, Circuit Judges.
PER CURIAM:

The Petition(s) for Rehearing are DENIED and no Judge in regular active service on the Court having
requested that the Court be polled on rehearing en banc (Rule 35, Federal Rules of Appellate
Procedure), the Petition(s) for Rehearing En Banc are DENIED.

ENTERED ML la

UNITED STATES CIRCUIT JUDGE

ORD-42
(12/01)

Case 3:95-cv-00250-HLA-MCR Document 87 _ Filed 04/16/03 Page 5 of 6 PagelD 176

IN THE UNITED STATES COURT OF APPEALS

FOR THE ELEVENTH CIRCUIT =, |) FILED ——-—

. COURT OFA
Pp

|
MAR 28 2009

No. 97-2319-P

THOMAS K. KAHN

JOHN GARY HARDWICK, JR., EC

Petitioner-Appellant,

versus

JAMES CROSBY, Secretary,
Florida Department of Corrections,

Respondent-Appellee.

On Appeal from the United States District Court for the
Middle District of Florida

BEFORE: TJOFLAT, ANDERSON and BIRCH, Circuit Judges.

PER CURIAM:

The petition(s) for rehearing filed by Appellant, John Gary Hardwick, Jr., is DENIED.

ENTERED ) THE COURT:

Ke

UNITED STATES CIRCUIT JUDGE

ORD-41

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U...ted States Court of App-als
Eleventh Circuit
56 Forsyth Street, N.W. ;
Atlanta, Georgia 30303

Thomas K. Kahn In Replying Giv' Number
Clerk Of Case And Nam's of Parties

March 28, 2003
MEMORANDUM TO COUNSEL OR PARTIES:

RE: 97-2319-P Hardwick v. Crosby
DC DKT NO: 95-00250-CIV-J-10

The enclosed orders have been entered on petitions for rehearing and rehearing en banc.

Sincerely,
THOMAS K. KAHN, CLERK

BY: B. H, McConnell
Deputy Clerk/(404) 335-6209

/bmc
enc.

